Case 2:23-cv-10437-WLH-PD Document 54-1 Filed 04/22/24 Page 1 of 2 Page ID #:294



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 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11   BOTANIC TONICS, LLC, a Delaware              Case No. 2:23-cv-10437 WLH (PDx)
     limited liability company,
12
                  Plaintiff,                      [PROPOSED] ORDER GRANTING
13                                                JOINT MOTION TO EXTEND
           v.                                     TIME TO FILE PLAINTIFF’S
14                                                FIRST AMENDED COMPLAINT
     SHOT OF JOY LLC, a California limited
15   liability company,
16                Defendants.                     District Judge: Wesley L. Hsu
                                                  Courtroom: 9B, 9th Floor
17
                                                  Magistrate Judge: Patricia Donahue
18                                                Courtroom: 580, 5th Floor
19
20         On April 22, 2024, Plaintiff Botanic Tonics, LLC and Defendant Shot of Joy
21   LLC (herein referred to as the “Parties”), filed a Joint Motion to Extend Time to File
22   Plaintiff’s First Amended Complaint.
23         The Court, having considered the Parties’ Joint Motion and finding good cause
24   therefor, hereby GRANTS the Joint Motion and ORDERS as follows:
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                                     -1- Case No. 2:23-cv-10437 WLH (PDx)
     [PROPOSED] ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE
                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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 1         Plaintiff Botanic Tonics LLC shall file its First Amended Complaint on or
 2   before April 29, 2024.
 3         IT IS SO ORDERED.
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 5   Dated:
                                               HON. WESLEY L. HSU
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                                               UNITED STATES DISTRICT JUDGE
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                                     -2- Case No. 2:23-cv-10437 WLH (PDx)
     [PROPOSED] ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE
                  PLAINTIFF’S FIRST AMENDED COMPLAINT
